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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                      :              CHAPTER 7
                                            :
CHARLES ANTONIO CROFF,                      :
                                            :              CASE NO. 18-69002-JWC
         Debtor.                            :
                                            :


 MOTION FOR ORDER AUTHORIZING AMENDED SETTLEMENT WITH DEBTOR
             UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Charles Antonio Croff (“Debtor”), by and through the

undersigned counsel, and files his Motion for Order Authorizing Amended Settlement with

Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement

Motion”). In support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                   Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

                             a. General Background and Dispute

         2.    On November 9, 2018 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 13 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy



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Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 13 Case No. 18-69002-JWC (the “Bankruptcy Case”).

        3.    On April 7, 2020, the Bankruptcy Case was converted to one under Chapter 7.

        4.    Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        5.    Prior to and on the Petition Date, Debtor was the sole owner of record of that

certain real property with a common address of 4845 Price Street, Forest Park, Clayton County,

Georgia (the “Property”).

        6.    Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2018).

        7.    Trustee has had the Property inspected by a licensed real estate agent, and based

on this inspection, he believes that the Property has sufficient value to create approximately

$100,000.00 in equity, following payment of the costs of sale, Debtor’s available exemption, and

all encumbrances against the Property.

        8.    Rather than Trustee’s selling the Interest of the Bankruptcy Estate in the Property,

Debtor would like to purchase the Interest from the Bankruptcy Estate (the “Transfer Dispute”).

        9.    Following negotiations, Trustee and Debtor (collectively, the “Parties”) reached

an agreement (the “Original Agreement”) to transfer the Interest to Debtor by Trustee’s

abandoning it back to Debtor following certain payments by Debtor.

        10.   On September 21, 2021, the Court entered an order [Doc. No. 85], among other

things, approving the Original Agreement under Rule 9019 of the Federal Rules of Bankruptcy

Procedure.

        11.   Under the terms of the Original Agreement, Debtor was required to pay



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$40,000.00 to Trustee on or before November 11, 2021.

        12.    Debtor was unable to pay the outstanding $40,000.00 due under the terms of the

Original Agreement. Instead, Debtor has paid $30,000.00.

        13.    Rather than Trustee’s exercising his rights under Sections 2.13 and 2.14 of the

Original Agreement, Trustee and Debtor have agreed to give Debtor additional time to pay the

outstanding $10,000.00 (the “Amended Settlement Agreement”).

                                        b. Filed Claims

        14.    The claims bar date in this case for governmental and non-governmental entities

was November 17, 2020. The total of the timely filed, non-priority, general unsecured claims is

$28,456.36.

                                        The Settlement

        15.    Trustee attaches a copy of the Amended Settlement Agreement as Exhibit “A” to

this Settlement Motion.    Significant terms of the Amended Settlement Agreement are as

follows:1

               a.     Debtor shall pay a total of $55,000.00 (the “$55,000.00 Settlement
                      Funds”) in good funds to Trustee in exchange for Trustee’s abandoning
                      the Interest to Debtor in accordance with the following schedule (the
                      “Scheduled Payments”): $45,000.002 prior to or on the Effective Date of
                      this Amended Agreement; $5,000.00 on or before December 31, 2021;
                      and $5,000.00 on or before January 31, 2022.

               b.     The Interest of the Bankruptcy Estate in and to the Property shall be
                      deemed abandoned upon the later of: (a) Trustee’s receipt in full of the




1
        The following is a summary of the Amended Settlement Agreement and is not intended
to be comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
        Debtor has paid $45,000.00 of the $55,000.00 Settlement Funds to Trustee.


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                     $55,000.00 Settlement Funds from Debtor in good funds; or (b) the
                     Settlement Approval Order3 becoming final.

              c.     Debtor shall insure the Property to protect the Bankruptcy Estate against
                     loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                     receipt in full of the $55,000.00 Settlement Funds from Debtor; or (b) the
                     Settlement Approval Order becoming final.

              d.     Debtor shall pay all ad valorem real property taxes that accrue against or
                     as a result of the Property until the later of: (a) Trustee’s receipt in full of
                     the $55,000.00 Settlement Funds from Debtor; or (b) the Settlement
                     Approval Order becoming final.

              e.     Debtor shall pay all payments owed on any debt secured by an interest in
                     the Property (the “Mortgage Payments”) until the later of: (a) Trustee’s
                     receipt in full of the $55,000.00 Settlement Funds from Debtor; or (b) the
                     Settlement Approval Order becoming final.

              f.     Debtor shall not grant or permit any future encumbrances against the
                     Property, or sell or transfer the Property, without Trustee’s express written
                     permission and appropriate authority from the Bankruptcy Court until the
                     later of: (a) Trustee’s receipt in full of the $55,000.00 Settlement Funds
                     from Debtor; or (b) the Settlement Approval Order becoming final. In this
                     regard, Debtor acknowledges that prior to the abandonment of the
                     Property as provided in Section 2.3 of the Settlement Agreement, the
                     Property shall remain Property of the Bankruptcy Estate.

              g.     Debtor shall pay all maintenance and repair expenses that arise from or
                     that are related to the Property until the later of: (a) Trustee’s receipt in
                     full of the $55,000.00 Settlement Funds from Debtor; or (b) the Settlement
                     Approval Order becoming final.

              h.     Within five (5) business days after receiving a written request from
                     Trustee, in accordance with Section 11 of the Settlement Agreement,
                     Debtor shall produce to Trustee proof of insurance on the Property or
                     proof of payment of his Mortgage Payments. In this regard, Debtor
                     represents and warrants to Trustee, that, as of the Effective Date of the
                     Settlement Agreement, the Property is insured and he is current on his
                     Mortgage Payments.

              i.     The Parties stipulate and agree that Debtor shall not have a claim under
                     Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                     account of payment of the $55,000.00 Settlement Funds, or for any reason,


3
       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed
to them in the Amended Settlement Agreement.

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                       and that neither Debtor nor any of his affiliates, agents, principals, or
                       subsidiaries shall receive a distribution from the Bankruptcy Estate.

               j.      Effective upon the Settlement Approval Order becoming final, Debtor
                       shall waive any and all obligations that the Bankruptcy Estate may
                       otherwise have to pay to Debtor out of the $55,000.00 Settlement Funds
                       on account of exemptions asserted by or on behalf of Debtor, if any, in the
                       Property, the Interest, or the $55,000.00 Settlement Funds.

               k.      There are also events of default and liquidated damage provisions should
                       Debtor fail to pay timely any of the Scheduled Payments.

               l.      The Amended Settlement Agreement supersedes and supplants the
                       Original Agreement.

                                         Relief Requested

        16.    By this Settlement Motion, Trustee requests that the Court approve the Amended

Settlement Agreement between the Parties.

                                          Basis for Relief

        17.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.




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Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        18.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        19.    The proposed settlement will allow Trustee to make a meaningful distribution (if

not a substantial distribution) to the holders of timely filed general unsecured claims in this

Bankruptcy Case and avoid the costs and risks of marketing and selling the Property through a

licensed real estate broker (and also allow Debtor to keep his primary residence).

        20.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Amended Settlement Agreement.

        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Amended Settlement Agreement; and (iii) granting to the parties such other and

further relief as the Court deems just and appropriate.




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        Respectfully submitted, this 23rd day of November, 2021.

                                                   ARNALL GOLDEN GREGORY LLP
                                                   Attorneys for Trustee

                                                   By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                         Michael J. Bargar
Atlanta, GA 30363                                       Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Amended
Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first
class United States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Shannon Charlmaine Worthy
Stanton and Worthy, LLC
547 Ponce De Leon Avenue, NE
Suite 150
Atlanta, GA 30308

Charles Antonio Croff
4845 Price Street
Forest Park, GA 30297



        This 23rd day of November, 2021.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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